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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                             LITTLE ROCK DIVISION

PERRY HOPMAN,                                   §
                                                §
       Plaintiff,                               §
                                                §
V.                                              §        CASE NO. 4:18-CV-00074-KGB
                                                §
UNION PACIFIC RAILROAD,                         §
                                                §
       Defendant.                               §

DEFENDANT’S BRIEF IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

       Defendant Union Pacific Railroad (“Union Pacific”) files this Brief in Support of its

Motion for Summary Judgment.

I.     INTRODUCTION

       Plaintiff Perry Hopman (“Hopman”) is a current Union Pacific employee who recently was

promoted from conductor to engineer. In 2008, Hopman was diagnosed with Post Traumatic Stress

Disorder (“PTSD”) in connection with his military service. Around the time of his diagnosis

Hopman sought employment with Union Pacific and was hired as a conductor, a position which is

responsible for the safe operation of Union Pacific’s trains, in May 2008. Hopman took an

extended leave beginning in April 2010 from Union Pacific to perform additional military service.

When he returned in 2015, he informed Union Pacific that he had PTSD, but did not request an

accommodation for this condition. Hopman then performed his duties without issue for

approximately one year and, only then, requested an accommodation. Hopman requested that

Union Pacific permit him to bring his dog Atlas to work because it would make him more

“comfortable.” Union Pacific denied this request. After this denial, Hopman filed his first Charge
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of Discrimination (“Charge”) with the Equal Employment Opportunity Commission (“EEOC”),

but withdrew the Charge on the EEOC’s advice because his dog was not fully trained.

       Hopman continued to perform his duties without fail or problem for the next approximately

one year. After this time, Atlas completed his training and Hopman made another formal request

to bring his dog to work aboard a train. Hopman admits that he did not need an accommodation at

this time to perform his job—he could perform his job well and safely without an accommodation.

Union Pacific again denied Hopman’s request. Union Pacific, however, offered Hopman an

alternative accommodation, which was working as a conductor in the rail yard rather than on a

locomotive so that he could be at home after his work day concluded with Atlas present. Hopman

accepted the alternate accommodation, although he subsequently decided to return to his previous

job of working on the road as a conductor even though it meant he could not be home with Atlas

at the end of each work day. As noted, Hopman recently was promoted to a locomotive engineer

position. As with his conductor duties, Hopman believes he can perform his engineer duties

without any accommodation.

       Despite this, Hopman asserts claims against Union Pacific for failure-to-accommodate

under the Americans with Disabilities Act (“ADA”) and the Rehabilitation Act of 1973

(“Rehabilitation Act”). Hopman cannot prevail on these claims. To prevail, Hopman must

demonstrate that he needs the requested accommodation. Hopman has admitted that he can

perform his job perfectly well without an accommodation. That fact alone makes the requested

accommodation unreasonable as a matter of law and ends the inquiry as to whether Hopman can

prevail under either claim. Accordingly, Union Pacific requests that the Court grant its motion for

summary judgment and dismiss this lawsuit.




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II.    FACTUAL BACKGROUND

       A.      Hopman’s Military Service Prior to Joining Union Pacific

       Hopman joined the U.S. Army in 1993. See Hopman Deposition Excerpts (“Hopman

Depo.”) attached as Exhibit A at 11:2-18. Hopman originally served as an active duty service

member, but only spent approximately one and one-half years on active duty. Id. He subsequently

joined the national guard in Arkansas. Id.

       In 2006, Hopman deployed to Iraq as a member of the national guard. Id. at 9:4-7; 14:12-

14. While deployed, Hopman discussed employment at Union Pacific with one of his fellow

guardsmen, and was told that it was a great place to work. Id. at 14:4-14. On this recommendation,

Hopman decided to pursue a railroad career at Union Pacific when he returned from his

deployment. Id.

       At some point after Hopman returned to the United States, a doctor at Fort Hood diagnosed

him with PTSD. Id. at 26:15-20. This was the first time he was diagnosed with PTSD. Id.

       B.      Hopman Accepts Employment at Union Pacific

       In May 2008, while still a member of the national guard but after he returned from his

deployment, Hopman accepted employment with Union Pacific. See Hopman Human Resources

Report (“HR Report”) attached as Exhibit B; Exhibit A (Hopman Depo.) at 15:22-16:2. He hired

on as a conductor at the North Little Rock service unit. Exhibit A (Hopman Depo.) at 15:3-11. It

is mandatory that conductors are union members. Id. at 20:7-10.

       Conductors are “[r]esponsible for train operations and movement[,] [which] [i]ncludes

operat[ing] locomotive equipment ….” Id. at 60:7-16. A conductor’s duties include, but are not

limited to:

               •      Pushing, pulling, lifting, and carrying 5 up to 25 pounds frequently, 50
                      pounds occasionally, and assisting in the infrequent movement of weights
                      of 7 up to 83 pounds. Id. at 61:4-67:17.


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                •       Riding railcars and climbing onto equipment. Id.

                •       Applying bilateral use of upper extremities when needed such as
                        maintaining a grip with both hands. Id.

                •       Maintaining balance and coordination on stairs, ladders, uneven terrain,
                        moving equipment, rails, and ballast. Id.

                •       Maintaining three-point contact when holding on a ladder or train. Id.

                •       Working and interacting with others. Id.

                •       Riding at the rear of a car on a ladder. Id. at 71:23-72:1.

In addition to these duties, the conductor also spends time outside of the train to walk the train and

deal with other problems. Id. at 68:12-70:4. This means the conductor must perform his or her

duties in extreme weather and face any dangers the weather may pose. Id. at 70:20-71:1. Moreover,

in many instances, the conductor’s only source of light are the train’s headlights and his own

flashlight. Id. at 70:10-19.

        As a conductor, Hopman was required to work a variable schedule based on business needs,

which included overnight travel. Id. at 58:13-16; 21-25. This involved Hopman, as a conductor,

pairing up with an engineer to operate Union Pacific’s trains. Id. at 59:1-15. Due to scheduling

limitations, a conductor and engineer team is not constant and usually changes for each run. Id.

        C.      Hopman Takes a Leave of Absence from Union Pacific for Military Service

        In April 2010, Hopman took a leave of absence from Union Pacific to perform military

service. Id. at 17:4-7. This would ultimately turn out to be an approximately five year leave. Id. at

17:10-15. Hopman deployed to Kosovo during this time and also spent time at his local armory in

Benton, Arkansas. Id. at 17:16-17; 18:10-11. In addition to a deployment and residing at his local

armory, Hopman also received treatment at Walter Reed in Washington, D.C. and participated in

an Army PTSD program in San Diego, CA. Id. at 18:14-19. Union Pacific continued to pay

Hopman approximately $300 to $400 a month during this leave, which represented the difference


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between Hopman’s pay at Union Pacific and the pay he received while serving on military duty.

Id. at 19:12-21. Hopman medically retired from the Army National Guard in 2015. Id. at 28:14-

18.

       In 2014, prior to returning to work at Union Pacific, Hopman got his dog. Id. at 29:2-16.

Atlas, a German Rottweiler, was two months old when Hopman got him. Id. at 31:5-8; See Paws

for Effect Letter date April 10, 2017 (“Paws for Effect Letter”) attached as Exhibit C.

       D.      Hopman Returns to Union Pacific

       Hopman returned from his military leave of absence on or about May 4, 2015. Exhibit B

(HR Report); Exhibit A (Hopman Depo.) at 72:21-25. He resumed working as a conductor at the

North Little Rock Service Unit after his return. Exhibit A (Hopman Depo.) at 20:21-21:1.

       Union Pacific required Hopman to undergo a fitness-for-duty exam when he returned to

work. Id. at 44:13-25. Union Pacific requires all of its employees who work in a safety sensitive

position to undergo a fitness-for-duty exam after returning from an absence of one year or longer.

See Gengler Deposition Excerpts (“Gengler Depo.”) attached as Exhibit D at 13:1-10. While

Hopman informed Union Pacific of his PTSD diagnosis at this time, he did not request a reasonable

accommodation. Exhibit A (Hopman Depo.) at 39:6-11. This resulted in Union Pacific returning

Hopman to work without restrictions. Id. at 44:13-25.

       E.       Hopman Requests that Union Pacific Permit him to Bring his Dog to Work
                While Serving as a Train Conductor

       On or about April 1, 2016, after working at Union Pacific without an issue for nearly a year

after returning from his military leave of absence and approximately eight years after his PTSD

diagnosis, Hopman requested that Union Pacific permit him to bring Atlas to work as a reasonable

accommodation. Id. at 27:5-19; 34:7-18. This is the first time that Hopman ever sought a

reasonable accommodation from Union Pacific. Id. at 72:10-17. Hopman readily admits that from



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May 4, 2015 to April 1, 2016, prior to requesting this accommodation, he was able to safely

perform all functions of his job. Id. at 31:22-32:16.

        Hopman made this 2016 request to his supervisor at the time, Josh Davis (“Davis”). Id.

The only disability Hopman claimed at this time was his PTSD. Id. Hopman requested to bring his

dog to work because it would “allow him to be more comfortable at work, and make work easier

for him.” See April 1, 2016 Values Line Report (“2016 Values Line”) attached as Exhibit E.

        After reviewing Hopman’s request, Union Pacific denied it because it determined that the

accommodation would result in a direct threat to health and safety.1 See April 4, 2016 Form C

(“2016 Form C”) attached as Exhibit F. Specifically, Union Pacific noted that: (1) it is unclear how

a dog would react to the dangerous conditions of the railyard, such as moving cars and

locomotives; (2) there was no infrastructure to support a dog in a locomotive or on the road; and

(3) the dog would remain unmonitored and could pose a risk to other employees. Id.

        After the denial of this request, Hopman filed a Charge with the EEOC. See Charge of

Discrimination dated April 21, 2016 and Associated Documents (“2016 Charge”) attached as

Exhibit G. In his Charge, Hopman alleged that Union Pacific denied him a reasonable

accommodation because of his disability. Id. In the accompanying Intake Questionnaire, Hopman

indicated the only discrimination he faced was Union Pacific’s denial of a “use of service dog at

work.” Id. Hopman also indicated that the assistance he sought was “only to allow a service dog

to accompany [him] at work.” Id. At the time Hopman filed this Charge, Atlas had not completed

his training. Exhibit A (Hopman Depo.) at 37:1-7. Hopman proactively requested an




1
 Union Pacific does not move for summary judgment under a theory of direct threat to health and safety. Indeed,
Hopman cannot meet his initial burden and there is no need to reach the direct threat inquiry. Accordingly, Union
Pacific provides this information solely for informational purposes.


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accommodation he would want in the future. Id. at 38:1-5. Given this, the EEOC recommended

that Hopman withdraw his Charge, which he did. Id. at 37:8-18; Exhibit G (2016 Charge).

       F.      Hopman Makes a Second Request to Bring his Dog to Work While Serving
               as a Train Conductor

       After Atlas completed his 18-month training program in or about April 2017, Hopman

requested again that Union Pacific permit him to bring Atlas to work with him. Exhibit A (Hopman

Depo.) at 31:9-11; Exhibit C (Paws for Effect Letter). Hopman initiated this request with an email

to Pauline Weatherford (“Weatherford”), one of Union Pacific’s senior vocational case managers.

See Weatherford Deposition Transcript Excerpts (“Weatherford Depo.”) attached as Exhibit H at

8:13-19; May 5, 2017 Email (“May 5, 2017 Email”) attached as Exhibit I. In that role, Weatherford

assists employees with unpaid medical leave for on-duty injuries, manages the vocational rehab

program, and facilitates accommodation requests. Exhibit H (Weatherford Depo.) at 8:13-19.

Weatherford’s role in accommodation requests is to engage in the interactive process with the

employee, clarify what the employee is seeking, and assist the employee in acquiring the desired

accommodation request, if possible. Id. at 8:23-9:10. Weatherford assisted Hopman throughout

the life of his accommodation request and beyond. Exhibit A (Hopman Depo.) at 50:8-16; Exhibit

H (Weatherford Depo.) at 8:20-22.

       In his email to Weatherford, Hopman wrote “[t]he last time we spoke I was in the process

of obtaining my service dog. I now have my service dog full time and would like to once again ask

for [an] accommodation which would enable me to bring him to work with me.” Exhibit I (May

5, 2017 Email). A few days later, with Weatherford’s assistance, Hopman completed one of Union

Pacific’s reasonable accommodation request intake forms. See 2017 Union Pacific Form B (“2017

Form B”) attached as Exhibit J. In this form, Hopman addressed the concerns Union Pacific

expressed in denying his 2016 request. Id. Hopman claimed that: (1) Atlas was trained to perform



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tasks in varied environments and could receive additional training in the working environment;

(2) Atlas was trained to not relieve himself for 12 straight hours; and (3) Atlas was an extension

of himself and, because of that, was not a threat to other employees. Id. Hopman also claimed in

the form that he had physical and mental impairments in the form of “[a]nxiety and fatigue.” Id.

Hopman claimed that these impairments interfered with his ability to perform his job by adversely

affecting his ability to interact with others, sleep, concentrate, and remember to take his

medications. Id. Hopman also claimed that these impairments directly interfered with his work

because of “[i]ncreased fatigue due to difficulties sleeping, i.e. anxiety and night terrors [and] …

[p]ossible impact on focus.” Id. However, at the end of the form, Hopman represented that he is

“[c]urrently able to function but is experiencing increased anxiety, fatigue and difficulties

concentrating when service dog is not present …. Fearful will lead to inability to perform essential

functions without the accommodation ….” Id.

       When questioned about this form in his deposition, Hopman testified that he had no job

limitations at the time he requested his accommodation. Exhibit A (Hopman Depo.) at 111:16-3.

When asked why Hopman requested to bring Atlas to work, despite being able to perform all the

essential functions of his job, Hopman claimed he needed Atlas to assist him by:

       •       Grounding, which is when Atlas senses Hopman’s anxiety levels and places
               pressure on his body. Id. at 108:13-16.

       •       Reminding him to take his mediations. Id. at 108:17-21.

       •       Hovering, which is when Atlas walks circles around Hopman in a crowd to keep
               the crowd at bay. Id. at 108:23:109:1.

       •       Notifying Hopman of when a migraine is coming. Id. at 109:2-3.

       •       Blocking anyone from approaching Hopman from behind. Id. at 109:4-8.

       •       Finding the closest exit in a building. Id. at 109:9-11

       •       Picking up and retrieving items. Id. at 109:12-17.


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        •       Waking Hopman up from nightmares. Id. at 109:18-19.

        •       Forcing Hopman to get out of the house. Id. at 109:20-22.

        To remain a viable service dog and continue performing these tasks, Atlas requires ongoing

training. Id. at 89:1-3. This requires Hopman to send Atlas to a trainer, sometimes for up to weeks

at a time. Id. at 89:4-21. Despite all his training, Hopman recognizes that Atlas was not trained for

the railroad environment, complete with all the smells, noises, and safety hazards a service dog

would encounter. Id. at 135:18-22.

        G.      Union Pacific and Hopman Engage in the Interactive Process

        After Hopman submitted his 2017 request for an accommodation, Weatherford and

Hopman had many discussions about Hopman’s request and his needs. Exhibit H (Weatherford

Depo.) at 37:5-14; 113:10-13. Weatherford also researched cases and looked for other information

helpful to Hopman and his request. Id. at 78:20-79:1; 82:3-8. Hopman admits that Weatherford

was not only responsive to his request and communications, but she was also concerned and

compassionate about his well-being. Exhibit A (Hopman Depo.) at 74:1-10. Moreover, Hopman

unambiguously admits that Weatherford engaged in the interactive process with him. Id. at 124:1-

6 (“Q. … you interacted with [Weatherford] and provided her with information, right? A. Yes,

ma’am”).2 Union Pacific memorialized this process using its internal reasonable accommodation

request forms. Exhibit D (Gengler Depo.) at 54:2-6.

        Pursuant to Union Pacific’s routine processes, Weatherford forwarded Hopman’s

accommodation request on to the General Superintendent of his service unit, Jay Everett

(“Everett”), for review. See Everett Deposition Transcript Excerpts (“Everett Depo.”) attached as



2
 Even though Hopman unambiguously admits that Union Pacific engaged in the interactive process, Union Pacific
does not move for summary judgment on this issue because it is immaterial to the outcome of Hopman’s claims.
Hopman did not need an accommodation.


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Exhibit K at 22:12-23:9. Once he received Hopman’s request, Everett reviewed it and conferred

with Union Pacific’s internal legal counsel and safety department. Id. at 22:11-23:2; 40:9-50:11.

Everett and numerous members of Union Pacific’s legal team and safety department collaborated

on whether Union Pacific could safely accommodate Hopman’s request. See Rod Doerr Deposition

Transcript Excerpts (“Doerr Depo.”) attached as Exhibit L at 153:16-23.

       H.      Union Pacific Denies Hopman’s Request to Bring a Dog Aboard a Train But
               Grants him Another Accommodation

       The decision as to whether Union Pacific could provide Hopman with his requested

accommodation rested in Everett alone, though Everett could rely on those resources available to

him to make the decision. Exhibit K (Everett Depo.) at 33:5-11; 79:11-18; Exhibit L (Doerr Depo.)

at 127:13-23; 129:17-21. During this decision making process, Weatherford advocated on behalf

of Hopman. Exhibit H (Weatherford Depo.) at 21:6-22:12. She explained to Everett, among others,

how well a service animal is trained and a service animal’s capabilities. Id. Despite this, after his

discussions with Union Pacific’s internal legal counsel and safety department, Everett made the

decision to deny Hopman’s request. Exhibit K (Everett Depo.) at 33:5-11. Everett determined that

the presence of Atlas would constitute a direct threat to health and safety. Id. at 43:3-10; 53:17-

54:23; 55:7-56:14; Exhibit H (Weatherford Depo.) at 74:5-6. This was based, in part, on an

assessment performed by Union Pacific’s Assistant Vice President of Safety, Rod Doerr (“Doerr”).

Exhibit L (Doerr Depo.) at 90:2-91:1; 99:12-24. Doerr believed that Hopman would violate a

number of safety rules in bringing Atlas aboard a train. Id. Union Pacific memorialized Everett’s

decision by providing Hopman with a document describing the resolution of his reasonable

accommodation request. See June 22, 2017 Form C (“2017 Form C”) attached as Exhibit M. Union

Pacific noted that Hopman’s original request “would cause an undue hardship … and may result

in a direct threat to health and safety ….” Id.



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       When Weatherford learned that Everett would not approve Hopman’s request to bring

Atlas aboard the train, Weatherford began contemplating alternative forms of accommodation.

Exhibit H (Weatherford Depo.) at 82:24-83:2. As a result of this, Union Pacific offered Hopman

a reasonable accommodation in the form of a yard job. Id. at 75:18-5; 83:15-23; 87:4-6; Exhibit A

(Hopman Depo.) at 50:17-51:15. A yard job would prevent Hopman from having to spend nights

away from home—and from Atlas. Exhibit A (Hopman Depo.) at 54:18-24. Hopman had

approximately 25 different yard jobs to choose from. Id. at 50:17-51:15. While Hopman

theoretically could have sought a yard job on his own using his seniority, Union Pacific’s

involvement in the process ensured he would keep that job and not be bumped from the job by

another Union-represented employee with greater seniority. Exhibit L (Doerr Depo.) at 185:1-14.

       Hopman disagreed with Union Pacific’s decision. Exhibit M (2017 Form C). According to

Hopman, the offered yard accommodation “baffle[d]” him because “[t]he yard is a more dangerous

working environment” and “it pays less.” Id. In addition, Hopman noted that “Atlas does more

than just help with … sleeping,” Atlas also helped Hopman perform “certain tasks that allow [him]

to be a productive person.” Id.

       In a follow-up email to Weatherford, Hopman conveyed his disagreement with Union

Pacific’s decision because his “request for an accommodation was in no way approved for [the]

original request.” See June 22, 2017 Email (“June 22, 2017 Email”) attached as Exhibit N. Hopman

further complained that “[t]his form is making it seem like [A]tlas is solely a psych dog, which

couldn’t be further from reality.” Id. Hopman followed this with “[y]es I have PTSD, which is part

of the need for [the] dog. Not main focus.” Id. In closing, Hopman wrote “I also never stated that

[Atlas] would assist me in essential functions while on duty …” Id.




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       Hopman’s disagreement prompted Union Pacific to elevate Hopman’s request to

Weatherford’s supervisor, Peggy Grosskopf (“Grosskopf”), director of clinical services, and

Union Pacific’s internal EEO team. Exhibit H (Weatherford Depo.) at 13:6-10; 13:22-14:12; 18:8-

18; 22:13-16. Grosskopf and the EEO team reviewed Hopman’s objections to determine if Union

Pacific could alter its decision. Id. at 18:8-18. Grosskopf and the EEO team reached the same

conclusion as Everett—Union Pacific could not accommodate Hopman’s request to bring a dog

aboard the train. Id. at 24:20-25:2.

       Despite his previous protestations, Hopman agreed to pursue the alternative

accommodation offered to him. Exhibit A (Hopman Depo.) at 51:21-52:14. He eventually accepted

a job as a conductor in the yard. Id. at 51:21-52:14; 114:14-16. Contrary to his fear that he would

only earn around $50,000 annually and contrary to his claims in his Amended Complaint,

Hopman’s pay did not radically change when he accepted the yard job as an accommodation. Id.

at 52:18-53:3. Hopman admits that the allegation in his First Amended Complaint about having to

take a lower paying position is untrue. Id. at 122:13-17; ECF No. 4, ¶ 14.

       Despite voluntarily accepting this reasonable accommodation, Hopman did not like the

conductor yard job. Exhibit A (Hopman Depo.) at 53:13-54:11. Hopman felt that this new position

placed more stress on him because the yard job conductor is “just a dangerous job” in “a dangerous

environment.” Id. He decided to return to his previous job and resumed working as a conductor on

the road. Exhibit L (Doerr Depo.) at 241:2-14.

       I.      Hopman Files a Second EEOC Charge but Does Not Claim PTSD is his
               Disability

       Hopman filed a second Charge against Union Pacific for its failure to accommodate his

second request to permit him to bring his dog to work. See Charge of Discrimination dated July

13, 2017 and Associated Intake Questionnaire (“2017 Charge”) attached as Exhibit O. In this



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Charge, Hopman claimed that he “requested to be allowed to use a service dog to accompany [him]

when walking train; ride within locomotive in down stay command or could be tethered or crated

while switching and be allowed to travel to rest location.” Id. In the associated Intake

Questionnaire form, Hopman claimed that his disability was migraines, anxiety, and depression,

not PTSD. Id.; Exhibit A (Hopman Depo.) at 49:2-10.

       After receiving his Notice of Right to Sue, Hopman filed this lawsuit on January 26, 2018.

ECF No. 1. Contrary to what he told the EEOC in the Intake Questionnaire, his only claimed

disability in this case is PTSD. Exhibit A (Hopman Depo.) at 120:16-121:2. In emphasizing this,

Hopman acknowledges that the only disability at issue in this case is his PTSD. Id. at 136:10-12.

       J.        Hopman Continues to Perform his Job Duties Safely Without an
                 Accommodation

       Despite Union Pacific’s denial of his request to bring Atlas to work with him, Hopman is

adamant that he has been, and continues to be, able to perform all the functions of his job safely.

Id. at 45:1-25; 57:1-9; 78:2-8; 136:3-6; Exhibit H (Weatherford Depo.) at 28:20-23. He has never

reached a point where he is unable to perform the essential functions of his job, even more than a

decade after a doctor diagnosed him with PTSD. Exhibit A (Hopman Depo.) at 113:25-114:3.

Moreover, nothing in his medical record suggests that he is unable to perform his job without an

accommodation. See Dr. John Holland Deposition Excerpts (“Holland Depo.”) attached as Exhibit

P at 78:14-20.

       K.        Union Pacific Promotes Hopman to Engineer and Permits him to Bring his
                 Dog to Training

       Since Hopman filed his Charge and this lawsuit against Union Pacific, Union Pacific has

promoted Hopman to engineer. Exhibit A (Hopman Depo.) at 21:9-20. He underwent training to

become an engineer, which he was set to complete in or about April 2019. Id. at 21:9-16. Hopman

requested that Union Pacific permit him to bring Atlas to the classroom portion of the engineer


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training. Id. at 132:4-133:7. Union Pacific granted him this request because Hopman would not be

performing any duties on a train. Id. However, Atlas injured himself prior to the training and was

unable to accompany Hopman. Id. As with his conductor duties, Hopman does not believe that

there are any engineer duties he cannot perform without a reasonable accommodation. Id. at 43:16-

18; 136:7-9; 136:13-17.

       L.      Even After Hopman Filed Suit, Union Pacific Attempted to Work with
               Hopman

       In mid-2018, Doerr and his safety team agreed to travel to Arkansas to meet with Hopman

to discuss Atlas. Exhibit L (Doerr Depo.) at 18:6-12; 88:16-89:10. The intent of this meeting was

to allow Hopman to demonstrate how he would mitigate all the safety concerns associated with

Atlas’s presence onboard a locomotive. Id. at 88:16-89:10. However, Hopman cancelled the

meeting the day before it was set to occur. Id.

       In addition, Weatherford continued to work with Hopman on his request for an

accommodation. Exhibit H (Weatherford Depo.) at 89:15-17. As recently as September 2018,

Weatherford and Hopman exchanged emails about the potential for Atlas to accompany Hopman

at work. See 2018 Interactive Process Emails (“2018 Emails”) attached as Exhibit Q. In these

emails, Hopman and Weatherford discussed how Hopman planned to overcome issues presented

by Atlas’s presence. Id. Hopman summed up these discussions by writing “Atlas has really helped

me avoid flashbacks and the like, due to my PTSD. I know that he will make me an even better

worker ….” Id. Hopman recently raised the issue of rescheduling the workplace demonstration

with Union Pacific. However, this has not occurred to date because his attorneys would not agree

to having Hopman do a demonstration and would not agree to having the workplace meeting unless

Hopman’s dog trainer also could attend.




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III.   SUMMARY JUDGMENT STANDARD

       Under Federal Rule of Civil Procedure 56(c), summary judgment is proper “if the

pleadings, depositions, answers to interrogatories, and admissions on file, together with the

affidavits, if any, show that there is no genuine issue as to any material fact and that the moving

party is entitled to a judgment as a matter of law.” Celotex Corp. v. Catrett, 477 U.S. 317, 322

(1986). The plain language of Rule 56(c) mandates the entry of summary judgment, after adequate

time for discovery and upon motion, against a party who fails to make a showing sufficient to

establish the existence of an element essential to that party’s case, and on which that party will

bear the burden of proof at trial. Id. In such a situation, there can be “no genuine issue as to any

material fact,” since a complete failure of proof concerning an essential element of the nonmoving

party’s case necessarily renders all other facts immaterial. Id. at 323. The moving party is “entitled

to a judgment as a matter of law” because the nonmoving party has failed to make a sufficient

showing on an essential element of her case with respect to which she has the burden of proof. Id.

       A party seeking summary judgment always bears the initial responsibility of informing this

Court of the basis for its motion and identifying those portions of “the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the affidavits, if any,” which it

believes demonstrate the absence of a genuine issue of material fact. Id. One of the principal

purposes of the summary judgment rule is to isolate and dispose of factually unsupported claims

or defenses, and it should be interpreted in a way that allows it to accomplish this purpose. Id. at

324. There is no “discrimination case exception” to the application of summary judgment, which

is a useful pretrial tool to determine whether any case, including one alleging discrimination,

merits a trial. Torgerson v. City of Rochester, 643 F.3d 1031, 1043 (8th Cir. 2011).




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IV.    ARGUMENT AND AUTHORITIES

       A.      Hopman’s Claims Under the ADA and Rehabilitation Act are Subject to the
               Same Analysis

       Hopman brings identical claims under the ADA and Rehabilitation Act. ECF No. 4.

Hopman’s Rehabilitation Act claim and his ADA claim are subject to the same analysis. Hill v.

Walker, 737 F.3d 1209, 1216 (8th Cir. 2013) (“As relevant to the issues here, decisions interpreting

either the ADA or the Rehabilitation Act are applicable and ‘interchangeable’ to claims under each

statute.”) (citing Neudecker v. Boisclair Corp., 351 F.3d 361, 363–64 (8th Cir. 2003); Allison v.

Dep't of Corr., 94 F.3d 494, 497 (8th Cir. 1996)). The only relevant difference between the claims

is the burden of proof imposed on the plaintiff. Amir v. St. Louis Univ., 184 F.3d 1017, 1029 n. 5

(8th Cir. 1999) (“Rehabilitation Act claims are analyzed in a manner similar to ADA claims except

that the Rehabilitation Act imposes a requirement that a person’s disability serve as the sole

impetus for a defendant’s adverse action against the plaintiff.”). Accordingly, UP addresses

Hopman’s ADA and Rehabilitation Act claims in tandem.

       B.      Hopman’s Failure-to-Accommodate Claim Under the ADA and
               Rehabilitation Act Fails Because He has No Need for the Requested
               Accommodation and Cannot Present a Prima Facie Case of Disability
               Discrimination

               1.      Legal Standard for Failure to Accommodate Claim

       “The ADA makes it unlawful for a covered employer to discriminate against any ‘qualified

individual on the basis of disability.’” Hill, 737 F.3d at 1216 (quoting 42 U.S.C. § 12112(a)).

Discrimination under the ADA includes, in relevant part, “not making reasonable accommodations

to the known physical or mental limitations of an otherwise qualified individual with a disability.”

42 U.S.C. § 12112(b)(5). “A plaintiff thus can bring claims under the ADA for failure to

accommodate ….” Orr v. City of Rogers, 232 F. Supp. 3d 1052, 1060 (W.D. Ark. 2017),

reconsideration denied, 5:15-CV-05098, 2017 WL 772913 (W.D. Ark. Feb. 27, 2017).


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       In a reasonable accommodation case, the “discrimination” is framed in terms of the failure

to fulfill an affirmative duty—the failure to reasonably accommodate the disabled individual’s

limitations. Peebles v. Potter, 354 F.3d 761, 767 (8th Cir. 2004). Reasonable accommodation

claims are not analyzed using the McDonnell Douglas rubric. Id. (internal citations omitted). “This

is so because a claim against an employer for failing to reasonably accommodate a disabled

employee does not turn on the employer’s intent or actual motive.” Id. at 766.

       Instead, the Eighth Circuit has prescribed a modified burden-shifting analysis in which a

plaintiff “must establish both a prima facie case of discrimination based on disability and a failure

to accommodate it.” Schaffhauser v. United Parcel Serv., Inc., 794 F.3d 899, 905 (8th Cir. 2015)

(emphasis added). The plaintiff then has the burden to show “that the requested accommodation is

‘reasonable on its face, i.e., ordinarily or in the run of cases.’” Peebles, 354 F.3d at 768 (quoting

U.S. Airways, Inc. v. Barnett, 535 U.S. 391, 401, 122 S.Ct. 1516, 152 L.Ed.2d 589 (2002)). “Upon

such a showing, the employer is left to ‘show special (typically case-specific) circumstances that

demonstrate undue hardship in the particular circumstances.’” Id. (quoting Barnett, 535 U.S. at

402, 122 S.Ct. 1516). Hopman is unable to meet this standard. He cannot establish a prima facie

case of disability discrimination because he did not need the requested accommodation.

               2.      Hopman Cannot            Demonstrate      He     Needs     the    Requested
                       Accommodation

       As an initial matter, Hopman’s claim fails because he does not need the requested

accommodation. It is well settled in the Eighth Circuit that “[w]here the reasonable

accommodation requested is unrelated to the limitation, … an ADA action may [not] lie. Put

another way, there must be a causal connection between the major life activity that is limited and

the accommodation sought.” Wood v. Crown Redi-Mix, Inc., 339 F.3d 682, 687 (8th Cir. 2003);

Liljedahl v. Ryder Student Transp. Services, Inc., 341 F.3d 836, 842 (8th Cir. 2003) (same); see



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also Burchett v. Target Corp., 340 F.3d 510, 517 (8th Cir. 2003) (granting summary judgment

where “[the defendant] argue[d] that it was not required to [accommodate the plaintiff] because

she could perform her current job with the reasonable accommodations it was providing.”). “A

reasonable accommodation is one which enables a[n] individual with a disability to perform the

essential functions of the position.” Hatchett v. Philander Smith College, 251 F.3d 670, 675 (8th

Cir. 2001) (emphasis added). These holdings were aptly summarized by the Honorable Kermit E.

Bye in his concurrence in Peebles, in which he stated “[a]s our precedent stands, moreover, the

plaintiff fails to make a prima facie case if he fails to show he needs an accommodation.” 354 F.3d

at 770–71 (emphasis in original). Thus, “because necessity is part of the prima facie case, the

showing the plaintiff needs the accommodation precedes the question whether the accommodation

was reasonable.” Id.

         The Eighth Circuit’s precedent conforms with the ADA’s supporting regulations. As noted

by the U.S. Supreme Court, those regulations state that a reasonable accommodation is one that

provides:

         “(i) [m]odifications or adjustments to a job application process that enable a qualified
         applicant with a disability to be considered for the position such qualified applicant
         desires; or

         “(ii) [m]odifications or adjustments to the work environment ... that enable a qualified
         individual with a disability to perform the essential functions of that position; or

         “(iii) [m]odifications or adjustments that enable a covered entity’s employee with a
         disability to enjoy equal benefits and privileges of employment as are enjoyed by its other
         similarly situated employees without disabilities.”

Barnett, 535 U.S. at 417 (citing 29 CFR § 1630.2(o) (2001)) (emphasis added). The EEOC’s

Enforcement Guidance: Reasonable Accommodation and Undue Hardship Under the Americans

with Disabilities Act provides guidance as to what “equal benefits and privileges of employment”

means:



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      The ADA requires employers to provide reasonable accommodations so that
      employees with disabilities can enjoy the “benefits and privileges of employment”
      equal to those enjoyed by similarly-situated employees without disabilities. Benefits
      and privileges of employment include, but are not limited to, employer-sponsored:
      (1) training, (2) services (e.g., employee assistance programs (EAP’s), credit unions,
      cafeterias, lounges, gymnasiums, auditoriums, transportation), and (3) parties or
      other social functions (e.g., parties to celebrate retirements and birthdays, and
      company outings). If an employee with a disability needs a reasonable
      accommodation in order to gain access to, and have an equal opportunity to
      participate in, these benefits and privileges, then the employer must provide the
      accommodation unless it can show undue hardship.

Available at: https://www.eeoc.gov/policy/docs/accommodation.html#N_44_. Ultimately, it is

unlawful for a covered entity not to make reasonable accommodation to the known physical or

mental limitations of an otherwise qualified applicant or employee with a disability. 29 C.F.R. §

1630.9(a) (emphasis added).

       Here, Hopman cannot meet the requirement of showing he needs an accommodation for

any limitation, much less one that relates to the performance of his job or his enjoyment of the

equal benefits of employment. To the contrary, Hopman has consistently represented that he could

perform the essential functions of his job as a conductor without an accommodation. Exhibit A

(Hopman Depo.) at 45:1-25; 57:1-9; 78:2-8; 113:25-114:3; 136:3-6; Exhibit H (Weatherford

Depo.) at 28:20-23. He also admitted that at the time he requested an accommodation, he had no

limitations that prevented him from completing his job duties. Exhibit A (Hopman Depo.) at

111:16-3. In addition, nothing in his medical record suggests that he is unable to perform his job

without an accommodation. Exhibit P (Holland Depo.) at 78:14-20. Hopman also has not, and

cannot, demonstrate that there are any equal benefits of employment that he is unable to enjoy

without an accommodation. His alleged disability does not prevent him from enjoying anything

Union Pacific has to offer.

       Hopman’s ability to perform his essential job functions is made further apparent by his

recent promotion. Not only has Hopman met the requirements of his job as a conductor without an


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accommodation—he has excelled. Exhibit A (Hopman Depo.) at 21:9-20. Hopman also agrees

that, as with his conductor duties, Hopman will be able to excel at performing his engineer duties

without a reasonable accommodation. Id. at 43:16-18; 136:7-9; 136:13-17. Accordingly, because

Hopman cannot show that his request to bring a dog to work relates to any limitation he has on the

job, he cannot present a prima facie case of disability discrimination and his claim fails.

                  3.       Hopman Cannot Present a Prima Facie Case of Discrimination Because
                           He Suffered No Adverse Employment Action

         Even if Hopman requested to bring a dog to work to address a specific work limitation, he

cannot independently present a prima facie case of discrimination. To establish a prima facie case

of discrimination based on a disability, Hopman must show that he “(1) is disabled within the

meaning of the ADA; (2) is a qualified individual under the ADA; and (3) has suffered an adverse

employment decision because of the disability.” Schaffhauser, 794 F.3d at 905 (citing Kallail v.

Alliant Energy Corp. Servs., Inc., 691 F.3d 925, 930 (8th Cir. 2012)). For purposes of summary

judgment only, Union Pacific assumes that Hopman can meet the first two elements of his prima

facie claim. However, Hopman cannot demonstrate that he suffered an adverse employment

decision.

         The Eighth Circuit has noted that “[a]n employer is … liable for committing an adverse

employment action if the employee in need of assistance actually requested but was denied a

reasonable accommodation.” Dick v. Dickinson State Univ., 826 F.3d 1054, 1060 (8th Cir. 2016)

(Hatchett v. Philander Smith College, 251 F.3d 670, 675 (8th Cir. 2001)).3 See also Mershon v. St.

Louis Univ., 442 F.3d 1069, 1077 (8th Cir. 2006) (citing Peebles, 354 F.3d at 766) (holding




3
 While the Eighth Circuit cites to Hatchett to support this contention, Hatchett does not address whether a failure-to-
accommodate alone constitutes an adverse employment action.




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“[b]ecause the alleged failure to accommodate is the adverse action and no other act is claimed as

discriminatory, there is no requirement to demonstrate any adverse action other than the failure to

accommodate itself.”).4 However, this is not a standard that is universally followed in the Circuit.

See, e.g., Donnelly v. St. John’s Mercy Med. Ctr., 635 F. Supp. 2d 970, 995 (E.D. Mo. 2009)

(granting summary judgment where plaintiff could not demonstrate an adverse employment action

beyond the denial of an accommodation).

        In the context of the Rehabilitation Act, “[i]t is also important to note that the ‘person’s

disability [must] serve as the sole impetus for a defendant's adverse action against the plaintiff.’”

Wojewski v. Rapid City Reg’l Hosp., Inc., 450 F.3d 338, 344 (8th Cir. 2006) (quoting Amir, 184

F.3d at 1029 n.5) (emphasis in original). Indeed, where a plaintiff cannot show that the adverse

employment action was due solely to the plaintiff’s disability, summary judgment is appropriate.

Dick, 826 F.3d at 1060 (holding summary judgment appropriate because “[plaintiff] did not suffer

any adverse employment actions due to her disability.”).

        Here, the only potential adverse employment action Hopman can rely on is the denial of

his accommodation request. 5 Even if Hopman relies on the Eighth Circuit opinions holding that

the denial of an accommodation constitutes an adverse employment action, that line of cases holds

that it is an adverse employment action only if the employee: (1) “[is] in need of assistance …”

and (2) “was denied a reasonable accommodation.” Dick., 826 F.3d at 1060. Hopman cannot meet

either of these requirements.



4
 Once again, while the Eighth Circuit cites to Peebles for this contention, Peebles does not independently address
whether a failure-to-accommodate alone constitutes an adverse employment action.
5
 Hopman cannot predicate his move to a yard job as an adverse employment action. According to the Eighth Circuit,
a voluntary change in a job cannot constitute an adverse employment action. Fenney v. Dakota, Minnesota & E. R.
Co., 327 F.3d 707, 717 (8th Cir. 2003) (holding that “plaintiff cannot state an adverse employment action if he
voluntarily resigned ….”). Hopman admits he voluntarily moved into the yard. Exhibit A (Hopman Depo.) at 53:13-
54:11.


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       First, as explained in more detail above, Hopman was not in need of any assistance to

perform his job duties. He had no limitations that required an accommodation. Rather, he

unambiguously admits that he was able, and remains able, to perform the essential functions of his

job without an accommodation. Exhibit A (Hopman Depo.) at 45:1-25; 57:1-9; 78:2-8; 113:25-

114:3; 136:3-6. Thus, under Eighth Circuit precedent, the denial of an unnecessary accommodation

is not an adverse employment action.

       Second, Hopman was not denied a reasonable accommodation. Although it could not

permit him to bring a dog aboard a train, Union Pacific offered Hopman a reasonable

accommodation in the form of a yard job. Exhibit H (Weatherford Depo.) at 75:18-5; 83:15-23;

87:4-6; Exhibit A (Hopman Depo.) at 50:17-51:15. This allowed Hopman to hold a yard job he

may not otherwise be entitled to, which prevented Hopman from having to spend nights away from

home—and from Atlas. Exhibit A (Hopman Depo.) at 54:18-24. Hopman voluntarily accepted this

alternative accommodation offered to him. Id. at 51:21-52:14.

       In addition to this accommodation, Union Pacific also granted Hopman’s request that Atlas

accompany him to his engineer training. Id. at 132:4-133:7. Union Pacific’s safety concerns were

allayed with Hopman’s training because it occurred in a class room. Id. Accordingly, Hopman

cannot demonstrate that he was denied a reasonable accommodation.

       In the context of the Rehabilitation Act, Hopman cannot meet the requisite showing that

the denial of his accommodation request was due solely to his PTSD. The available evidence

demonstrates that Union Pacific denied his request due to safety concerns, not due to his PTSD.

In individually assessing the potential presence of Atlas, Everett determined that Atlas would

constitute a direct threat to health and safety. Exhibit K (Everett Depo.) at 43:3-10; 53:17-54:23;

55:7-56:14; Exhibit H (Weatherford Depo.) at 74:5-6; Exhibit M (2017 Form C). This decision




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was made with input from Union Pacific’s Vice President of Safety, Doerr, who opined that Atlas’s

presence would cause Hopman to violate a number of safety rules. Exhibit L (Doerr Depo.) at

90:2-91:1; 99:12-24. Accordingly, there is no evidence that the sole reason Union Pacific denied

Hopman’s request for permission to bring Atlas aboard a train was due to his PTSD.

               4.      Hopman’s Requested Accommodation was not Reasonable as a Matter
                       of Law

       Even if Hopman could show that he needed a dog to address a limitation he had at work

and establish a prima facie case of disability discrimination, Hopman must demonstrate that his

requested accommodation was reasonable. An accommodation is not reasonable if it does not

assist the plaintiff in “performing the duties of her particular job ….” Rask v. Fresenius Med. Care

N. Am., 509 F.3d 466, 471 (8th Cir. 2007) (“The ability to take sudden, unscheduled absences

would not have assisted [plaintiff] in performing the duties of her particular job; they would have

been for her personal benefit.”). “A reasonable accommodation is one which enables a[n]

individual with a disability to perform the essential functions of the position.” Hatchett v.

Philander Smith Coll., 251 F.3d 670, 675 (8th Cir. 2001) (citing 29 C.F.R. § 1630.2(o)(1)(i))

(emphasis added). It must be “plainly obvious” that the accommodation is reasonable. AP ex rel.

Peterson v. Anoka-Hennepin Indep. Sch. Dist. No. 11, 538 F. Supp. 2d 1125, 1148 (D. Minn. 2008)

(“On this record, then, no reasonable jury could find that it was plainly obvious’ that the glucagon-

injection request was a reasonable accommodation.”).

       As discussed above, Hopman’s requested accommodation is unrelated to his limitations or

his ability to perform his job duties because he has no limitations. Exhibit A (Hopman Depo.) at

45:1-25; 57:1-9; 78:2-8; 113:25-114:3; 136:3-6. In his own words, his requested accommodation

would simply make him more “comfortable” and “an even better worker ….” Exhibit F (2016

Values Line); Exhibit Q (2018 Emails).



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        Moreover, Hopman admitted in an email to Weatherford that the “main focus” of Atlas

was not his PTSD, which is the only disability he has claimed in this lawsuit. Exhibit N (June 22,

2017 Email). He also reaffirmed that Atlas would not help him with his essential job functions at

all. Id. The only reasonable way to interpret this is that Hopman wants Atlas to accompany him to

work for reasons unrelated to his disability; or, in his words, to make him “comfortable.” This is,

according to the Eighth Circuit, the very definition of an unreasonable accommodation. Hatchett,

251 F.3d at 675.

V.      CONCLUSION

        Hopman does not need a reasonable accommodation. He is able to perform, and excel at,

his job duties without one. This alone is fatal to his claim. Even if he did need a reasonable

accommodation, he cannot demonstrate that Union Pacific failed to provide him with one. In fact,

Hopman voluntarily accepted the accommodation offered to him. He only complains that he

wanted Union Pacific to give him the specific accommodation he requested. Lastly, the

accommodation that Hopman requested was not, on its face, reasonable. Hopman admits that he

requested the accommodation for his comfort and to be a better worker, not because he needed the

accommodation. Based on these facts, Union Pacific is entitled to summary judgment dismissing

this lawsuit.




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DATED: June 24, 2019                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 24th day of June, 2019 I electronically filed the foregoing with
the Clerk of Court using the CM/ECF System which will send notification of such filing to all
counsel of record.




                                              /s/ Linda C. Schoonmaker_____________________
                                              Linda C. Schoonmaker




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